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 EXHIBIT 11
                            Case 2:20-cv-00983-TSZ Document 75-11 Filed 02/07/22 Page 2 of 5
                                                            BRADFORD AUGUSTINE
                                                                 1/31/2022


                                                                                                         Page 1
                                                 UNITED STATES DISTRICT COURT
                                                 WESTERN DISTRICT OF WASHINGTON
                                                               AT SEATTLE
                     ___________________________________________________________
                     HUNTERS CAPITAL, LLC, et al.,  )
                                                    )
                                    Plaintiffs,     )
                                                    )
                                vs.                 ) No. 20-cv-00983-TSZ
                                                    )
                     CITY OF SEATTLE,               )
                                                    )
                                    Defendant.      )
                     ___________________________________________________________

                                   ZOOM 30(b)6 Deposition Upon Oral Examination

                                                                    Of

                                    MADRONA - BRADFORD AUGUSTINE
                     ___________________________________________________________




                     DATE:         Monday, January 31, 2022
                     REPORTED BY:                Mindy L. Suurs, CSR No. 2195


                                                          ROUGH & ASSOCIATES INC
         office@roughandassociates.com                         206.682.1427 3515 SW Alaska St Seattle WA 98126


Electronically signed by Mindy Suurs (101-257-931-8021)                                     46f0a849-6a7c-4038-9589-0697633b3836
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                                                                                                           Page 54
             1                 A.        Okay.
             2                 Q.        Do you want to take a five-minute break, we'll
             3       get that document, and then we can reconvene?
             4                           MR. REILLY-BATES:             Yeah, that's fine.
             5                           THE VIDEOGRAPHER:             The time is 11:41 a.m.           We are
             6       off the record.
             7                                     (Recess taken.)
             8                           THE VIDEOGRAPHER:             The time is 11:51 a.m.           We are
             9       back on the record.
           10                                                     (Exhibit No. 158 marked for
           11                                                     identification.)
           12        BY MR. FARMER:
           13                  Q.        Mr. Augustine, we've given you Exhibit 158.                        Can
           14        you identify this for the record, please?
           15                  A.        Yes, this is a rent roll, which is a
           16        forward-looking document that shows what the tenant pays in
           17        the future and what their base rent is and when the lease
           18        expires.
           19                  Q.        Okay.            If we're looking at the first line of
           20        this, do you see the Unicorn Bar & Restaurant?
           21                  A.        I do.
           22                  Q.        And according to this, it said that the lease is
           23        going to run until the end of Confidential ; is that correct?
           24                  A.        That's a            Confidential   .   I think it's a Confidential
           25        lease with two 5-year options.                         I don't believe it's a


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                                                                   1/31/2022


                                                                                                         Page 55
             1       Confidential    term.
             2                 Q.        Okay.            How about the monthly rent?      Do you see
             3       it's reflected there as Confidential .                    Does that sound right
             4       to you?
             5                 A.        Yes, it does.
             6                 Q.        Okay.            A moment ago we looked at Exhibit 157,
             7       which is the damages spreadsheet, and we had just looked at
             8       the loss of rent line item on the second page of that,
             9       which came to a total of Confidential .                   Do you recall that?
           10                  A.        Yes, I do.
           11                  Q.        By my math, that's about eight months of lost
           12        rent.          Does that sound right to you?
           13                  A.        No, by my math that's six months of lost rent and
           14        six months potentially of lost CAMS.
           15                  Q.        Okay.            And can you explain why the landlord
           16        agreed to give the Unicorn Bar & Restaurant six months of
           17        rent relief?
           18                  A.        Because on the day they were going to reopen,
           19        they called us up and said, We got a problem.                          There's no
           20        way we're going to be able to open up our outside dining
           21        area under the current situation.                        And then as time
           22        progressed on into July, they realized that there was no
           23        business coming back based on the fact that there was a
           24        giant scar in the Pike/Pine Urban Neighborhood, and so they
           25        asked for six months of rent relief.


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                                                             BRADFORD AUGUSTINE
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                                                                                                        Page 97
             1                                            REPORTER'S CERTIFICATE
             2
             3            I, Mindy L. Suurs, the undersigned Certified Court
                     Reporter, pursuant to RCW 5.28.010, authorized to
             4       administer oaths and affirmations in and for the State of
                     Washington, do hereby certify:
             5
             6            That the foregoing testimony of BRADFORD AUGUSTINE
                     was given before me at the time and place stated therein
             7       and thereafter was transcribed under my direction;
             8            That the sworn testimony and/or proceedings were by me
                     stenographically recorded and transcribed under my
             9       supervision, to the best of my ability;
           10             That the foregoing transcript contains a full, true,
                     and accurate record of all the sworn testimony and/or
           11        proceedings given and occurring at the time and place
                     stated in the transcript;
           12
                          That the witness, before examination, was by me duly
           13        sworn to testify the truth, the whole truth, and nothing
                     but the truth;
           14
                          That I am not a relative, employee, attorney, or
           15        counsel of any party to this action or relative or employee
                     of any such attorney or counsel and that I am not
           16        financially interested in the said action or the outcome
                     thereof;
           17
                     DATE:         February 1, 2022
           18
           19
           20
           21
           22                                                  __________________________________
           23                                                  Mindy L. Suurs
                                                               Certified Court Reporter #2195
           24
           25

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